     Case 19-11167          Doc 9     Filed 04/09/19 Entered 04/09/19 06:20:23                  Desc Notice of
                                         Appt of Trustee Page 1 of 1
                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MASSACHUSETTS


In Re:   Saifullah Khan ,                                           Chapter: 7
         Debtor                                                     Case No: 19−11167
                                                                    Judge Melvin S. Hoffman



                        CERTIFICATE OF APPOINTMENT OF INTERIM TRUSTEE
                                      AND FIXING OF BOND

Pursuant to 11 U.S.C. § 701(a)(1)

John Aquino
Anderson Aquino LLP
240 Lewis Wharf
Boston, MA 02110

is hereby appointed as Interim Trustee in the above−referenced proceeding and is designated to preside at the
meeting of creditors. The Trustee's bond is fixed under the general blanket bond heretofore approved. The Trustee
shall notify the United States Trustee immediately in the event that the liquid assets exceed $1,000,000.

Pursuant to FRBP 2008 the Trustee will be deemed to have accepted this appointment unless it is rejected within
five (5) days of receipt of this notice. Unless another trustee is elected the Interim Trustee appointed herein shall
serve as Trustee without further appointment as provided by 11 U.S.C. § 702(d).

Date:4/9/19                                                         William K. Harrington
                                                                    U.S. Trustee
                                                                    (617) 788−0400
Original filed with Bankruptcy Court
Copy to trustee

REJECTION



I, John Aquino , hereby REJECT appointment as Trustee.
Dated: This day of __________________________ .

                                                                                          John Aquino
Original filed with Bankruptcy Court
Copy to United States Trustee



                                                                                                                        9
